                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

 DONNA LOU and DAREN PARSA, on                     CIVIL ACTION NO. 2:21-cv-00080
 their own behalf and on behalf of their
 deceased minor child, E.P.                        SECTION “D”

                                                   DIVISION (2)
 versus
                                                   JUDGE WENDY B. VITTER

 SHERIFF JOSEPH P. LOPINTO, III, et                MAGISTRATE DONNA P. CURRAULT
 al.



                                  NOTICE OF SUBMISSION


       Please take notice that the foregoing Motion will be submitted for hearing before the United

States District Court for the Eastern District of Louisiana, the Honorable Judge Wendy B. Vitter

presiding, 500 Poydras Street, Room C-352, New Orleans, Louisiana, on the 4th day of April, 2023,

at 9:30 a.m., or as soon thereafter as it may be heard.

                                              Respectfully submitted,

                                              THOMPSON, COE, COUSINS & IRONS, LLP

                                              /s/ Christopher W. Kaul ______________________

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                                              INVESTORS NO, LLC D/B/A WESTGATE
                                              SHOPPING CENTER
                                  CERTIFICATE OF SERVICE

        I hereby certify that to the best of my knowledge all counsel of record consent to and

participate in receiving electronic notification from the CM/ECF system, and that the Clerk of the

Court for the Eastern District of Louisiana, using the CM/ECF system, will electronically send

notification of the filing of this pleading to all counsel of record.




                                                By: /s/ Christopher W. Kaul __________________
                                                    Christopher W. Kaul
